                                             Case:15-03102-swd                                    Doc #:1 Filed: 05/22/2015                                         Page 1 of 8
B1 (Official Form 1) (4/13)
                                                               United States Bankruptcy Court                                                                                                 Voluntary Petition
                                                            WESTERN DISTRICT OF MICHIGAN
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Richardson, James W.
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   0728                                                                                (if more than one, state all):
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  16430 Park Lake Rd.
  Lot 114
                                                                                               ZIPCODE                                                                                                           ZIPCODE
  East Lansing, MI                                                                             48823
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Clinton                                                              Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                                   Case:15-03102-swd                         Doc #:1 Filed: 05/22/2015                                  Page 2 of 8
B1 (Official Form 1) (4/13)                                                                                                                                           FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             James W. Richardson
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 FLORIDA SOUTHERN                                                                    10-23351-PGH; Ch. 7                                          5/16/2010
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Robert J. Kempf                                                            5/22/2015
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                           Case:15-03102-swd                 Doc #:1 Filed: 05/22/2015                      Page 3 of 8
B1 (Official Form 1) (4/13)                                                                                                                             FORM B1, Page   3
 Voluntary Petition                                                                    Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                        James W. Richardson
                                                                                Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                       Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                       I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts            petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed               in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to              (Check only one box.)
proceed under chapter 7.
                                                                                         I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                         Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                         are attached.
11 U.S.C. §342(b)
                                                                                         Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States               chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                        order granting recognition of the foreign main proceeding is attached.
 X /s/ James W. Richardson
     Signature of Debtor                                                            X
                                                                                         (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                         (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

       5/22/2015                                                                         (Date)
     Date

                                  Signature of Attorney*
                                                                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Robert J. Kempf                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                           preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                   compensation and have provided the debtor with a copy of this document
     Robert J. Kempf P33710
     Printed Name of Attorney for Debtor(s)
                                                                                   and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                   (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Kempf & Yee Law Office                                                        pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                     bankruptcy petition preparers, I have given the debtor notice of the
                                                                                   maximum amount before preparing any document for filing for a debtor
     913 W. Holmes Rd.                                                             or accepting any fee from the debtor, as required in that section. Official
     Address                                                                       Form 19 is attached.
     Suite 130
     Lansing, MI                      48910
                                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer
     (517) 394-4430
     Telephone Number
                                                                                    Social-Security number (If the bankruptcy petition preparer is not an
       5/22/2015                                                                    individual, state the Social-Security number of the officer, principal,
     Date                                                                           responsible person or partner of the bankruptcy petition preparer.)
                                                                                    (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.               Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                   X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                              Date
                                                                                    Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                    responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                          Names and Social-Security numbers of all other individuals who prepared
                                                                                   or assisted in preparing this document unless the bankruptcy petition
                                                                                   preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                    If more than one person prepared this document, attach additional
                                                                                    sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                                 A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                    11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                    imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
                                  Case:15-03102-swd                   Doc #:1 Filed: 05/22/2015                        Page 4 of 8

 Fill in this information to identify your case:

 Debtor 1            James W. Richardson
                    ________________________________________________________________
                     First Name             Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                 Last Name

                                          MICHIGAN
 United States Bankruptcy Court for the: _____________________              WESTERN
                                                               District of ___________
                                                                                    (State)

 Case number         ___________________________________________
  (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                       amended filing



Official Form B 3A
Application for Individuals to Pay the Filing Fee in Installments                                                                                                   12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.


 Part 1:           Specify Your Proposed Payment Timetable


 1. Which chapter of the Bankruptcy Code                            Chapter 7
      are you choosing to file under?
                                                                    Chapter 11
                                                                    Chapter 12
                                                                 ✔
                                                                    Chapter 13

 2. You may apply to pay the filing fee in up to
      four installments. Fill in the amounts you                 You propose to pay…
      propose to pay and the dates you plan to
      pay them. Be sure all dates are business
      days. Then add the payments you propose                            310.00
                                                                                               With the filing of the
                                                                 $_____________                 petition                          9/5/2015
                                                                                                                               ______________
      to pay.
                                                                                              
                                                                                              ✔ On or before this date........ MM / DD / YYYY
      You must propose to pay the entire fee no
      later than 120 days after you file this                              0.00
      bankruptcy case. If the court approves your                $_____________               On or before this date...........   ______________
      application, the court will set your final                                                                                  MM   /   DD / YYYY

                                                                                              On or before this date........... ______________
      payment timetable.                                                   0.00
                                                                 $_____________
                                                                                                                                  MM   /   DD / YYYY

                                                           +               0.00
                                                                 $_____________               On or before this date...........   ______________
                                                                                                                                  MM   /   DD / YYYY


                                                 Total                   310.00
                                                                 $______________              Ż Your total must equal the entire fee for the chapter you checked in line 1.

 Part 2:           Sign Below

  By signing here, you state that you are unable to pay the full filing fee at once, that you want to pay the fee in installments, and that you
  understand that:

        You must pay your entire filing fee before you make any more payments or transfer any more property to an attorney, bankruptcy petition
         preparer, or anyone else for services in connection with your bankruptcy case.

        You must pay the entire fee no later than 120 days after you first file for bankruptcy, unless the court later extends your deadline. Your
         debts will not be discharged until your entire fee is paid.
        If you do not make any payment when it is due, your bankruptcy case may be dismissed, and your rights in other bankruptcy proceedings
         may be affected.

 8_________________________________
   /s/ James W. Richardson          8___________________________________                                        8_______________________________________
                                                                                                                  /s/ Robert J. Kempf
      Signature of Debtor 1                               Signature of Debtor 2                                     Your attorney’s name and signature, if you used one
                                                                                                                    Robert J. Kempf
            5/22/2015
      Date _________________                              Date      5/22/2015
                                                                   ________________                                 Date
                                                                                                                            5/22/2015
                                                                                                                           _________________
           MM / DD / YYYY                                          MM / DD / YYYY                                          MM / DD / YYYY
                                                                                                                    Bar #: P33710
                                                                                                                    Kempf & Yee Law Office
Official Form B 3A                                        Application for Individuals to Pay the Filing Fee in Installments
                                   Case:15-03102-swd                   Doc #:1 Filed: 05/22/2015                Page 5 of 8


 Fill in this information to identify the case:


 Debtor 1            James W. Richardson
                    ________________________________________________________________
                     First Name                  Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                 Last Name


                                          MICHIGAN
 United States Bankruptcy Court for the: _____________________              WESTERN
                                                               District of ___________
                                                                                         (State)

 Case number         ___________________________________________
  (If known)
 Chapter filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                             ✔
                                                                                 Chapter 13




Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form B 3A), the
court orders that:

[ ] The debtor(s) may pay the filing fee in installments on the terms proposed in the application.

[ ] The debtor(s) must pay the filing fee according to the following terms:



                            You must pay…                On or before this date…


                                                           _____________
                             $_____________             Month / day / year

                             $_____________                _____________
                                                        Month / day / year

                             $_____________                _____________
                                                        Month / day / year

                       +     $_____________                _____________
                                                        Month / day / year

       Total                 $_____________




     Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any
     additional property to an attorney or to anyone else for services in connection with this case.




                            _____________                  By the court: _____________________________________
                            Month / day / year                                 United States Bankruptcy Judge
                                 Case:15-03102-swd
B 1D (Official Form 1, Exhibit D) (12/09)
                                                                     Doc #:1 Filed: 05/22/2015                        Page 6 of 8


                                            UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF MICHIGAN
                                                    SOUTHERN DIVISION

In re James W. Richardson                                                                                                 Case No.
                                                                                                                                       (if known)


                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
                                  Case:15-03102-swd
 B 1D (Official Form 1, Exhibit D) (12/09)
                                                                       Doc #:1 Filed: 05/22/2015                        Page 7 of 8


               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ James W. Richardson
                                    Date:      5/22/2015
            Case:15-03102-swd        Doc #:1 Filed: 05/22/2015            Page 8 of 8




                                               Certificate Number: 15725-MIW-CC-025589168


                                                                 15725-MIW-CC-025589168




                    CERTIFICATE OF COUNSELING

I CERTIFY that on May 22, 2015, at 9:59 o'clock AM EDT, James Richardson
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. §
111 to provide credit counseling in the Western District of Michigan, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   May 22, 2015                           By:      /s/Alisha Parekh


                                               Name: Alisha Parekh


                                               Title:   Issuer




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
